Case HOS-cv @ayoo-MEL Document 1 Filed 02/g: Page 1 of 27

RECEIPT # 453833

5 UNITED STATES DISTRICT COURT AMOUNT $__ /S0—
. FOR THE DISTRICT OF MASSACHUSETTS — sUMMONS ISSUED__——
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TULLIO E/ PONZEVASS |

BY DPTY. CLK_ ZY

DATE_& -2la- OF ——

Plaintiff, CIVIL ACTION NO.

°98c0v10366 MEL
MAGISTRATE super Ble

V.

XEIKON, N.V.; XEIKON AMERICA,
INC. ; AM DIGITAL, AG; WALTER
BURGLER;: ALBERT VOLLENWEIDER,

Nee ee ee ee ee ee ee

Defendants.

NOTICE OF REMOVAL

Defendant Xeikon America Inc., by and through its attorneys of record, for the purpose
of removing this cause pursuant to 28 U.S.C. § 1441, respectfully submits this Notice of
Removal that, pursuant to 28 U.S.C. § 1446, the above-captioned case is hereby removed from
the Superior Court, Middlesex County, Commonwealth of Massachusetts to the United States
District Court for the District of Massachusetts. As and for its Notice of Removal, Xeikon
America states as follows:

1. This lawsuit is a civil action within the meaning of the Act of Congress relating to

the removal of cases.

2. On or about January 10, 2003, Plaintiff Tullio E. Ponzi (‘Plaintiff’) instituted this
civil action in Superior Court, Middlesex County, Commonwealth of Massachusetts, against
Xeikon America and others, where it was assigned case number 03-0107. Xeikon America was

served by process server on January 27, 2003. A true and correct copy of the Summons and

Complaint are attached hereto as Exhibit A in accordance with 28 U.S.C. § 1446(d).

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3. The state action is a civil action over which this Court has now, and had when the
state action was commenced, original diversity jurisdiction under 28 U.S.C. § 1332(a) for the
following reasons:

a. Plaintiffis a citizen of the Commonwealth of Massachusetts and a resident
of Cambridge, Middlesex County, Massachusetts.

b. Defendant Xeikon America is now, and was when the state action was
commenced, a Delaware corporation with its principal place of business in
Chicago, Illinois.

c. Upon information and belief, Defendant Xeikon N.V. is a Belgian
corporation with its principal place of business in Belgium.

d. Upon information and belief, Defendant AM Digital AG is a Swiss
corporation with its principal place of business in Zug, Switzerland.

e. Upon information and belief, Defendant Walter Burgler is a citizen of
Switzerland and a resident of Switzerland.

f. Upon information and belief, Defendant Albert Vollenweider is a citizen
of Switzerland and a resident of Switzerland.

g. Plaintiff alleges damages in excess of $75,000. Thus, the matter in
controversy appears to exceed, and exceeded when the state action was
commenced, the sum of $75,000, exclusive of interest and costs.

4. Defendant Xeikon America is the only defendant that has been properly served.
As a result, Xeikon America need not obtain consent of the remaining defendants for this

removal.

5. No further proceedings have taken place in the Superior Court.

-2-

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6. Removal to this Court is proper as this District includes the county where the state
action is pending.

7. Pursuant to 28 U.S.C. §§ 1332 and 1441(a), this Court has original diversity
jurisdiction and removal jurisdiction over this action.

8. Because this Notice of Removal is filed within 30 days of Xeikon America’s
receipt of the Summons and Complaint, it is timely filed under 28 U.S.C. § 1446(b).

9. The attached documents represent all service of process, pleadings, and other
documents served upon Xeikon America in this action as required by 28 U.S.C. § 1446(a).

10. | Written notice of the filing of this Notice of Removal will be filed with the Clerk
of the Superior Court, Middlesex County, Commonwealth of Massachusetts and will be served
on the adverse party as required by 28 U.S.C. § 1441(d).

11. Pursuant to Local Rule 81.1(a), Defendant Xeikon America will request from the
Clerk of the Middlesex County Superior Court certified or attested copies of all records and
proceedings in the state court and certified or attested copies of all docket entries therein, and
will file the same within thirty days.

WHEREFORE, Defendant Xeikon America respectfully gives notice that this action is to

be, and hereby is, removed from the Superior Court, Middlesex County, Commonwealth of

Massachusetts to the United States District for the District of Massachusetts.

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Respectfully submitted,
XEIKON AMERICA, INC.

By its attorneys,

|

Martin E. Levin, Esq. (BBO#296150)
Stern, Shapiro, Weissberg & Garin, LLP
90 Canal Street

Boston, MA 02114

Tel: 617-742-5800

Fax: 617-742-5858

OF COUNSEL

Kimberly E. Ramundo, Esq.
(OH S.Ct. 0066570)
Thompson Hine LLP

312 Walnut Street, 14" Floor
Cincinnati, Ohio 45202
Tel.: 513-352-6656

Fax: 513-241-4771

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing NOTICE OF REMOVAL has been served on
John M. McAuliffe, Attorney for Plaintiff, McAuliffe & Associates, 430 Lexington Street,
Newton, Massachusetts 02466, and on Ruth T. Dowling, Attorney for Walter Burgler and Albert
Vollenweider, Palmer & Dodge, LLP, 111 Huntington Avenue, Boston, MA 02199,by first class
U.S. mail, this LG to day of February, 2003.

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CT System

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TO; Kevin Crealy Cantrofler
Xalkon Amariea, inc,
1960 N. Wooci Dale Road, Sulte B
Wood Dale, IL 60191
Phona! (630) 616-5614 ex!
FAX: (630) 616-5451

HE: PROCESS SERVED IN MASSACHUSETTS

FOR Xeikan America, inc. Damastic State: Da

ENCLOSED ARE COPTER OF LEGAL, PROCERR RECEIVED BY THE STATUTORY AGENT DF THE ABUVE COMPANY A FOLLOWS:

1. TITLE OF ACTION: Tullo E, Poni, Pitt. vs Xalkon, N.V., ef al, Including- Xelkan America, Inc., Deft,
2, DOCUISENT:S) SERVEL: Surnmons, Complaint. Counts, Demand, CM Action Cover Sheet
9. EOUKT: Commonweatth of Massachusaits, Middlesex Superior Court Dept, of the Tral Court
Case Number 03-0107
A MATURE OF ACTION: Fraudulant Conceaimant, Negligent Murapresentation
5.ON WHOM PROCESS WAG DERVET: CT Corporation Systam, Boston, Massachusetts
6, DATE AMD NOUN OF SERVICE: By Process server on 01/27/2003 at 11:18
7. APPEARANCE GR ANSWER DUE: Within 20 Days
8, ATTORNEY(S): McAuliffe & Associates
430 Lexington St,

Nawton, MA 02466

% REMARKS:

stouen CT Comoration System

vin Chiisiina Bonney

ADDRESS 101 Faderal Street
Boston, MA 02110
SOP WS GO0S074892

Infomation contained on this tranumittel form Is recorded tor GJ Comonaiion System’: record keeping purpose Only and to pemnit quick reference for
tha cocipient, Thk nfarmation doos nat constitute ¢ legal opinion as to tha nature of action, tne amount of damages the answer date, ar any Infornetion
that can ba obtolnad trom the documents nemualves. The mctplent i responsible for interpreting tha documants and far taking tha appropiate gation,

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FORM NO, SUP, — cD1

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_ TO PLAINTIFF'S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED: —
* TORT — MOTOR VEBICLE TORT — CONTRACT —
EQUITABLE RELIEF — OTHER

COMMONWEALTH OF MASSACHUSETTS

SUPERIOR COURT .
DEPARTMENT
. OF. THE
cesses, MIDDLESEX oo, sa TRIAL COURT
[seal] CIVIL ACTION
‘ No.

Tullio. B4-Pongieene-. , Plaintiff(e) 03-0107

oXelkon,.NiVa-at- al. » Defendant(s)
oe SUMMONS |

To the above-named Defendant: Xeikon America c/o CT Corporation Systens
You are hereby summoned and required to serve upon ... John. Nba MOA WIA FF e ree teetecdeantene = |
veeapacictetenevanteanenaes yeeseerseerieetesveseece Plaintiff's attomey, whose address is “4aa.hexington.....
Stan. Newtons MA02466, HSA... etesessaeees , af Angwer to the complaint which is herewith
served upon you, within 20 days after gervice of this summons upon you, exclusive of the day of service. If you
foil to do ga, judgment by default will be taken against you for the relief, demanded 1 in the complaint. You are also
: “tequited to file your anawer tu the complaint in the office of the Clerk of this vouri at .....40.. Thorndike...
Stag. Camoridge,..MA.Q2141............ either before service upon plaintiff's altomey or within a
rousonable time thereafter. :
Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which you may
" have against the plaintiff which arises out of the trangaction or occurrence that is the subject matter of the plaintiff's

claim ar.you will ee fige pe bas from making such claim in any other action.
ee a SeeeleRINE ie at... Middlesex, County. Superior. ddurtese,

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SfEaVU Deputy Sheriff Suffolk Cour

NOTES,
1. Thiy summans ia iasued pursuant to Rule 4 of tha Massachusetts Roles of Civil Procedure.
2, When more than one deferidant is involved, tho numes of all such defendants shovid appear in the caption. If a acparale sinmmons is Wied

for each defendant, each slnvald be addressed to the particular defondant.

COMMONWEALTH OF MASSACHUSETTS

Case BOS CV ggyoo-MIEL Document 1 Filed 0 Page 7 of 27

PROOF OF SERVICE OF PROCESS

Lhereby certify and return that OM .....cccceecccccteeecsecssserreatesceees pedsatrcaareaes ecereecevnensedieesnerenaaenss
19. ccareoes , L served a copy of the within summons, together with a copy of the complaint in this action,
upon the within-named defendant, in the folowing maamner (Sco Mass, R. Civ. P. 4 (d) (1-5)):

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N.B. TO PROCESS SERVER:
PLEASE PLACE DATE YOU MAKE SERVICE ON DEFENDANT IN THIS

BOX ON THE ORIGINAL AND ON COPY SERVED ON DEFENDANT.

DEPARTMENT

SUPERIOR COURT

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DOCKET 7 Trial Court of Massachusetts
CIVIL ACTION 03. Su
perior Court Department
COVER SHEET O107 County: MUDDLE SEX
PLAINTIFF(S) DEFENDANTS) YEiKON, NV} YEIKON AMERICA , Nc:
Tuttro €. Ponzi Aut DIGITAC AG) WAVER BueeleR,
5 LEPHONE ATTORNEY (if known)
% ji HeASLI E) Mes lithe. BAvjocioces, OC. ™
LEXINGTON $f, N@ATON, HA 04466
Woard of Bar Overseara mumbers 59S | C) 4

Origin code and track designation

Place an x in one box only: [1 4. F04 District Court Appeal ¢.231, s. 97 &104 (After
4. FO1 Original Complaint trial) (X)
2, F02 Removal to Sup.Ct. 6.291,5.104 [.] 5. F05 Reactivated after rescript; relief from
(Before trial) (F) judgment/Order (Mass.R.Civ.P. 60) (X)
C) 3, F03 Ratransfer to Sup.Cl, .231,s.102C (X) (6. E10 Summary Process Appeal (X)
TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)
CODE NO, TYPE OF ACTION (specify) = TRACK IS THIS A JURY CASE?

Bo uleq Teer | Feaup (F) ( )Yes { )No

The following Is a full, jtemized and detailed statement of the facte on which plaintiff relles to determine

money damages. For this form, disregard double or treble damage claims; Indicate single damages only.
TORT CLAIMS

{Atiach additional sheets as nacessary)
A. Documented medical expenses to date:

4. Tolal hospital oxponses . 6. ccc cee ete ete etree eee eteras bevees cece eect eB ieee eteeeees

2 Total Doctor expenses... ... cece cece ee renee bee eetreetnerees Sennen kane eens Bec ccvcnveeees

3. Total chiropraclic expenses ...... keene e eee eeteeenaneerneeee veers aera t Dive rceteeeeee

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5. Total other expenses (describe) ....... puss rae eas Leste ete eee ene eaee pene Bec eeeeee

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B, Documented jost wages and compensation to date ........ tener ween eeenes Cee twenties ese Decree sees
C. Documented property damages to dato ,........eee veces Luce vee eeees leediaetcueeeaes $.. 750. PLE.
D.  RAeasonably anticipated future medical and hospitat expenses venee sete e beeen eee e eben ester tnes Bi vsecenes rats
E, Reasonably anticipated lost wages oo 6. acc et eer eer en ees Percent ene erent eee Bic cece vcceeee
F. Other documented items of damages (describe) ;
G. Brief description of plaintiff's me including nature and extent of injury (describe)

Lost imwwestmert lost profits

TOTAL .. vt 50, 06 oO
CONTRACT CLAIMS OS

(Attach additional sheets as necessary)
Provide a dotailad dascription of clain(s):

TOTAL $. venetian tae

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PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR
COURT DEPARTMENT

“| hereby certify that | have complied with the requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on
Dispute Resaiution (SJC Rule 1:18) requiring that | provide my clients with Information about court-connected dispute

resalution services and discuss AM the UA of the various methods.”
. ‘6
Signature of Attorney of Record MAM (AF ___DATE: / 16 {¢

AOTC-8 mic005-11/98
A.O.5.C. 152000

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COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, 5.8. SUPERIOR COURT
CIVIL ACTION No.

TULLIO E. PONZI, ) bn,

Plaintift, ) 03-0107
)
v, )
)
XEIKON, N.V,; KEIKON AMERICA, )
INC,; AM DIGITAL, AG; WALTER )
BURGLER; ALBERT VOLLENWEIDER )
Defendants. )
)

AFFIDAVIT OF TULLIO E. PONZI
l, I, Tullio E. Ponzi maintain a residence and office at 983 Memorial Drive,

Cambridge, Massachusetts,

2, am the sole beneficial shareholder of both Alfa Media International, AG and
AM International, AG.

3, Under Swiss law 1 am ultimately personally responsible for the Habitities of

Alfa Media International, AG and AM International, AG and their directors.

SIGNED AND SWORN UNDER THE PAINS AND PENALTIES OF PERJURY THIS
7. DAY OF JANUARY 2003.

Tullio E. Ponzi

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COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, 5.5. SUPERIOR COURT
CIVIL ACTION No.
TULLIO FE. PONZI, ) 4
Plaintiff, J . 03-0107
)
Vv. . J
)
XQIKON, N.V.; XEIKON AMERICA, }
INC.; AM DIGITAL, AG; WALTER )
BURGLER; ALBERT VOLLENWEIDER )
Defendants, )

PLAINTIFE’S VERIFIED COMPLAINT

The plaintiff, Tullio B. Ponzi, files this action in response to 4 scheme by Xeikon,
NV in conjunetion with former directors of AM International, AG to induce him to
purchase a company (AMI) with significant hidden liabilities, drive that company into
liquidation, create another company with all the same employees and managing directors,
induce the bankrupt company to sell all of jls assets to the new company for less than fair
value, and then seek double recovery by misleading the receiver in liquidation
proceedings.

PARTIES
1. ‘The plaintiff, Tullio FE, Ponzi (hercinafter “Ponzi”) maintains an office and

residence at 983 Memorial Drive, Cambridge, Middlesex County, Massachusetts.

Mr, Ponzi is the sole beneficial shareholder of Alfa Media International, AG and

AM International, AG.

2. Upon information and belief, defendant Xeikon, NV is a Belgian corporation with

its principal office located at Vredebaan 72, Mortscl 3640, Belgium C9,

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3234331311, Xeikon, NV is listed on Nasdaq, and upon information and belief,
33% of its revenue in 2000 came from the United States.

3, Upon information and belief, defendant Xeikon America, Inc., is a Delaware
Corporation, registered to do business in Massachusetts and Has an agent for
service of process at CT Corporation System, 101 Federal Street, Boston, MA. Its
principal office is located at 1360 N, Wood Dale Road, Suite B, Wood Dale, IL
60191. Under information and belief, Xeikon America, Inc. is the wholly owned
subsidiary of Xeikon, NV and sole distributor of Xeikon, NV’s products in the
United States.

4, Upon information and belief, defendant AM Digital, AG is a Swiss corporation
with a principal place of business at Zug, Switzerland.

5. Upon information and belief defendant Walter Burgler is an individual who
resides at Weinberghohe 3, 6300 Zug, Switzerland, and is President of AM
Digital, AG.

6. Upon information and belief, Albert Vollenweider is an individual who resides at
an unknown address in Switzerland, and is Vice President of AM Digital, AG.

PACTUAL BACKGROUND

7. Upon information and belief, Xeikon, NV is a producer of digital printing
equipment, and conducts business in Massachusetts through its wholly owned
subsidiary, Xeikon America, Inc.

8 In [993 Keikon, NV signed an exclusive distribution agreement with AM
International, AG (hereinafter “AMT”), a Swiss corporation, for the exchusive

distribution-of Xeikon’s digital color printing equipment in Switzerland.

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Aware of Under-Performing Equipment, Xeikon and Directors of AMI Induce
Ponzi to Purchase Company

9.  Xeikon, NV and the existing directors of AMI induced Mr. Ponzi as the sole
beneficial shareholder of Scangraphic, GmBH, predecessor of Alfa Media
International, AG (hercinafter “Alfa Media”), to purchase AMI in November of
1995. Ponzi is currently the sole beneficial shareholder of Alfa Media,

10, Negotiations for the purchase of AMI were conducted over the telephone
between, inter alia, Mr.’s Burgler, Vollenweidner and Ponzi while Ponzi was at
his office and residence in Cambridge, Massachusetts.

11. Prior to Alfa Media’s purchase of AMI, Xeikon, NV had been grossly misstating
the image quality and efficiency of their equipment. Knowing full well of the
potential liability to customers of the equipment, the existing directors of AMI,
Mr.’s Burgler, Vollenweider and l'reidrich Kraut in conjunction with Xeikon, NV
engaged in a scheme to defraud Ponzi and avoid liability for the under-performing
equipment. At no time during the negotiations to purchase AMI did Mr. Burgler
or Vollenweidner disclose the issue of under-performing cquipment to Ponzi. In
addition, they misrepresented the quality of existing inventories of AMI to Ponzi,
overstating their use, when in fact they were mostly outdated.

12, Immediately after the purchase, Ponzi became aware of the undisclosed issues

regarding Xeikon’s color printing equipment, as those who purchased Xeikon

products generally attempted to renegotiate payment, demanded refunds, and in

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some cases instigated litigation against AMI for which Ponzi was ultimately
responsible under Swiss law as the sole beneficial sharcholder,
13. Ponzi also became aware that Mr.’s Burgler and Vollenweider had deliberately

misstated the quality of inventories at AMI,

Xeikon and AMI Directors Form Competitor AMD as
AMI Forced into Liquidation

14. Xeikon, NV ignored their own performance warranties and absolutely refused to
rcimburse, or assist Ponzi and Alfa Media in addressing AMI’s customer claims.

15. Instead, in a calculated move, Xeikon, NV demanded full and immediate payment
for product delivered to AMI, and when payment couldn't be made due to
outstanding financial issues caused by the under-performing equipment, Xeikon,
NV immediately cancelled their exclusive distribution agreement with AMI and
signed a distribution agreement with the newly formed AM Digital, AG
(hereinafter “AMD”).

16. AMD was in reality, a creation of Xeikon, NV and AMI’s management, Walter
Burgler, Freidrich Kraut, and Albert Vollenweider, all operating directors of AMI,
helped in forming AMD in the image of AMI: with the sole purpose to distribute
Xeikon’s products and exclusively represent Xeikon, NV in Switzerland,

17. In fact, by May 1996 all of AMI’s employees had quit their positions and were
promptly employed by AMD.

18, AMD now operates as Xcikon’s sole and exclusive representative in Switzerland,

and at all times relevant hereto represented to Ponzi that it conducted matters in

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Swilzerland on behalf of Xeikon, NV with respect to Swiss clients, banks, and
suppliers of ancillary products.

19. Stripped of its employees, technical support, and goodwil], AMI was forced into
liquidation proccedings in Switzerland in July 1996, due, in most part, to
Xeikon’s under-performing equipment, repudiation of performance warranties,
and subsequent scheme to create AMD.

20, Under Swiss liquidation law Mr. Ponzi, as the sole beneficial shareholder, is
ultimately responsible for the liabilities of AMI and its directors.

21. In Jess than a year, Xcikon, NV had enticed Ponzi to become the beneficial
shareholder of AMI and, in essence, assume liability for Keikon’s under-
performing products, while it coordinated with the employees and directors of

AMI to form a new entity to distribute Xeikon products in Switzerland,

Ponzi Induced to Sell Assets of AMI to AMD

22, Onor about June 1996, Xeikon, NV pressed a settlement of its claims against
AMI if Ponzi agreed to sell all of AMI’s assets to AMD at nominal cost. Xcikon,
NV, through its International Sales Director, Peter Yeves, made clear that that a
settlement of claims would apply as between Xeikon, NV, and AMI, its directors
and consequently Ponzi as the beneficial shareholder.

23, Ponzi was present in Cambridge Massachusetts when conducting the negotiations
for the settlement of the dispute between Xeikon, NV and AMI.

24. Xcikon NV’s negotiations were in fact, part of the continuing scheme to defraud

Ponzi. In reality, Xeikon, NV had no jntention of honoring the agreement.

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Xeikon, NV and Mr. Burgler Mislead Liquidation Reciever
and Conceal Ex-Parte Judgment

25, In July 2000 Xcikon, NV, basing their standing on the claims they had already

settled, appeared in an ex-parte proceeding as part of AMI’s liquidation, and
without any consideration, acquired a judgment for $484,800 against the officers
and directors'of AMI from AMI’s liquidation recciver in Switzerland. Because,
Ponzi is the sole beneficial sharcholder, and AMI is without assets, he is
ultimately liable for those claims.

26. Upon information and belief, Walter Burgler appeared at that ex-parie hearing at
the request and for the benefit of Xcikon’s claim.

27, Xeikon, NV and AMD then concealed the ex parte judgment for several years,
and timed service so that it was served on the directors of AMI only several days
before the cxpiration of a statute of limitations to pursue claims in AM!’s
liquidation proceeding.

28. Because of the timing, Ponzi had been duped into foregoing any opportunity in
the Swiss Courts to bring claims against the defendants which pertain to AMI.
Furthermore, under Swiss law he is nat allowed to counterclaim or offset the
claim for moncy damages obtained against the directors of AMI, for which he is
ultimately responsible as the beneficial shareholder, because of the statute of
limitiations,

29, Asaresult of the deception, Xeikon, NV has created a double recovery far the
disputed invoices. First, with settlement of claims and transfer of assets for

nominal consideration from AMI to AMD, and then again through the ex parte

judgment against AMI and its directors. When you consider that AMI inventories

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were useless, and Xeikon cquipment was worthless, it becomes apparent that
Xeikon, through its scheme, has generated $750,000 in judgments and transfers of
assets, out of nothing, and at the expense of Ponzi.

30. In addition to the damages for his lost investment, and lost profits, Ponzi as Alfa
Media's sole shareholder, has also suffered loss of reputation in the industry due
to the defendant’s conduct.

COUNT I-AS AGAINST ALL DEFENDANTS
FRAUDULENT CONCEALMENT

The plaintiff restates and incorporates by reference as if fully set forth herein the

allegations in paragraphs 1-30 above,

31. The defendants failed to disclose material facts regarding the purchase of AMI
including the potential liability to customers for the under performing equipment.

32. The defendants failed to disclose material facts regarding the seltlement of the
claims between AMI and Xeikon, NV including that they had secretly obtained a
judgment in liquidation proceedings against AMI and its directors and ultimately
Ponzi, as the beneficial shareholder.

33, The defendants werc under a duty to disclose the customer issues regarding the
under-performing equipment as they had made representations to Ponzi regarding
performance of Xeikon products, and also potential Jiabilities of AMT.

34. The defendants were also under a duty to disclose ex parte judgment against Alfa

Media and its beneficial sharcholder, Ponzi, as they had made representations to

Ponzi that all claims between the parties had been settled.

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35. The facts regarding the under-performance of the equipment, and ex parte
Judgment were known only to the defendants and were not reasonably
discoverable by the plaintiff.

36. The defendants actively concealed the under-performance of the Xeikon, NV
equipment, and also actively concealed the ex parte judgment oblained in the
liquidation proceedings.

37. The defendants intentionally concealed or suppressed the above facts in order to
defraud Ponzi by inducing him to become beneficial shareholder of AMI and also
to transfer the assets of AMI to AMD for nominal consideration.

38, The plaintiff was unaware of the under-performing equipment and
misrepresentations made to customers, and would not have purchased AMI and
become the beneficial shareholder if he had been sO.

39. The plaintiff was unaware of the ex parte judgment obtained in the liquidation
proceedings, and he would not have transferred the assets of AMI to AMD for
less than fair value, or refrained from filing claims against the defendants in
liquidation, if he had been aware of such.

40. Asa direct and proximate result of the defendants’ fraudulent concealment, the
plaintiff suffered damages in an amount to be proven at trial, but not less than

$750,000.

COUNT Il- AS AGAINST ALL DEFENDANTS
NEGLIGENT MISREPRESENTATION

The plaintiff restates and incorporates by reference as if fully set forth herein the

allegations in paragraphs 1-40 above.

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4l. The defendants made the foregoing false representations regarding the
performance of Xeikon equipment and the existence of a settlement between
Xeikon and AMI with no reasonable ground to believe they were true.

42, he defendants made these representations with the intent to induce the plaintiff
to purchase AMI and also to file no claims against them in AMI’s liquidation
proceedings.

43. Asa direct and proximate result of the defendants’ conduct, the plaintiff has
suffered damages in an amount to be proven at trial, but not less than $750,000.

COUNT II -AS AGAINST XEIKON, NV & XEIKON AMERICA, INC,
VIOLATION OF M.G.L, 6.934

The plaintiff restates and incorporates by reference as if fully set forth herein the

allegations in paragraphs 1-43 above,

44, Xeikon, NV, Xeikon America, Inc, and Ponzi were engaged in trade or commerce
in the Commonwealth of Massachusetts at all times relevant hereto.

45, The defendants’ actions or failures to act as more fully described above constitute
unfair and deceptive conduct, and were knowing and/or willful violations of
M.G.L. ¢. 93A §11.

46. Asa result of the defendants’ conduct the plaintiff has suffered damages in an
amount to be proven at trial, but not less than $750,000,

COUNT IV -AS AGAINST XEIKON, NV, XEIKON AMERICA. INC.

& MR.’S BURGLER & VOLLENWEIDER
INTENTIONAL INTERFERENCE WITH ADVANTAGEOUS

BUSINESS RELATIONS

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The plaintiff restates and incorporates by reference as if fully set forth herein the
allegations in paragraphs 1-46 above.

47, Defendants Xeikon, NV, Mr.'s Burgler and Vollenweider induced employees of
AMI to leave their positions.

48. Xeikon’s actions were calculated to cause damage and loss to Ponzi in his lawful
business.

49. Xeikon, NV’s conduct as described above was improper in both nature and
means.

50. Ponzi has suttered actual damages in an amount to be proven at trial, but not less

than $750,000.

COUNT V -AS AGAINST ALL DEFENDANTS
BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

The plaintiff restates and incorporates by reference as if fully set forth herein the
allegations in paragraphs 1-51 above.
51. The defendants owed the plaintiff a duty of good faith and fair dealing.
52. The defendants have breached the duty of good faith and fair dealing owed to the
plaintiff.
53, As aresult of the defendants’ actions the plaintiff has suffered damages in an
amount to be proven at trial, but not Jess than $750,000.

COUNT VI -AS AGAINST MR.’S BURGLER & VOLLENWEIDER
BREACH OF FIDUCIARY DUTY

The plaintiff restates and incorporates by reference as if fully sct forth herein the

allegations in paragraphs 1-53 above.

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54. Defendants Burgler and Vollenwieder owed a fiduciary duty to AMI and
ultimately Ponzi as the beneficial shareholder and responsible party.

55, The defendants breached their fiduciary duty by secretly conspiring with Xcikon,
NV to form AMD, and to induce all employees of AMI to leave and join AMD,

56. Asa direct and proximate result of the defendants’ breach, Ponzi has been
damaged in an amount to be proven at trial, but not less than $ 267,000,

COUNT VIL- AS AGAINST XEIKON, NV & XEIKON AMERICA. INC.
UNJUST ENRICHMENT

The plaintiff restates and incorporates by reference as if fully set forth herein the
allegations in paragraphs 1-56 above.

57. Under mutual agreement, the plaintiff transferred the assets of AMI to AMD,
the wholly owned subsidiary of Xeikon, NV for nominal consideration.

58, Atall times the plaintiff reasonably expected to be compensated for its
services in the form of a reciprocal agreement by Xeikon, NV not to pursue
the balance of disputed invoices in AMI’s liquidation proceedings.

59. The defendant has been unjustly enriched by retaining the benelit of the
transfer of assets free and clear of liabilities and then obtaining an ex parte
judgment against AMI, its directors, and ultimately Ponzi as the bencficial
shareholder.

60. The reasonable value of the asscts transferred to AMD is equal to an amount
to be proven at trial, but not [ess than $267,000.

COUNT Vill- AS AGAINST ALL DEFENDANTS

CONSPIRACY

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The plaintiff restates and incorporates by reference as if fully set forth herein the

allegations in paragraphs 1-60 above.

6], Each of the defendants conspired to unlawfully defraud the plaintiff of his
investment in AMI.

62, Defendants AMD, Burgler and Vollenweider knowingly gave substantial
assistance and support toward the common plan to defraud Ponzi, through
inducing Ponzi to purchase AMI and assume liability as the beneficial
shareholder.

43. Defendants AMD, Burgler and Vollenweider knowingly gave substantial
assistance and support to Xeikon, NV toward the common plan to defraud Ponzi
through the enticement to settle outstanding disputed claims, then subsequent
acqitisition of an ox parte judgment in liquidation proceedings,

64. Defendant Xeikon, NV knowingly gave substantial assistance and support toward
the common plan to defraud Ponzi, by assisting in the creation of AMD and
granting AMD exclusive distribution rights in Switzerland.

65. Asa result of the defendants’ conduct the plaintiff has been damaged in an
amount to be proven at trial, but not less than $750,000.

COUNT IX- AS AGAINST XEIKON, NV & XBIKON AMERICA. INC.
ABUSE OF PROCESS

The plaintiff restates and incorporates by reference as if fully set forth hercin the

allegations in paragraphs 1-65 above.

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66, The defendants used liquidation proceedings in Switzerland to accomplish the
unlawful and ulterior purpose of defrauding the plaintiff of the value of assets of
AMI transferred to AMD in the settlement with Xeikon, NV.

67. The defendants’ actions resulted in damages to the plaintiff in an amount to be

proven at trial, but not less than $484,800.

PRAYER FOR RELIEF

WHEREFORE, the plaintiff respectfully requests that this Court:
(a) Order the defendants pay to the plaintiff damages in an amount to be
proven at heating plus interest, costs and attorney’s fees;
(b) —_Issuc a finding that defendants Xeikon, NV and Xeikon America, Inc.
engaged in unfair and deceptive business practices and award the plaintiff
treble damages, costs and attorney's fees;

(c) Issue such further relief as the Court deems necessary and proper,

Respectfully submitted,

MMA pf

McAuliffe & Associates, P.C.
John M. McAuliffe, BBO#555109
Andrew T. Howard, BBO#653588
430 Lexington Street

Newton, MA 02466

(617) 558-6889
Dated: 0

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VERIFICATION

I, Tullio E. Ponzi, plaintiff in the civil action herein, state that I have read the
foregoing Verificd Complaint, and based upon personal knowledge, that the allegations
set forth therein are true, except those made on information and belief, which are true to
the best of my knowledge, information and belief.

Signed under the pains and penalties of perjury this / day of } @4.,2003.

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Tullio E. Pond V

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JS 44 (Rev. 399)

The JS-44 civil cover sheet and the information contained herein neither re
by law, except as provided by local rules of court. This form, approved b
use of the Clerk of Court for the purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Tullio E. Ponzi

(b) County of Residence of First Listed Plaintiff Mi
(EXCEPT IN U.S. PLAINTIFF CASES)

CIVIL COVER SHEET

. DEFENDANTS eo,

Xeikon,

NOTE:

County of Residence of First Listed i

Inc.

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(IN U.S. PLAINTIFF CASES ONEY) UF PLAS

place nor supplement the filing and service of pleadings or other papéis’as required
y the Judicial Conférence of the United States in September'1974, is required f
(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) » |. ~ :

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IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

LAND INVOLVED.

(c) Attorney's (Firm Name, Address, and Telephone Number)
John M. McAuliffe and Andrew T. Howard
McAuliffe & Associates, P.C.

430 Lexington Street, Newton, MA 02466

ek

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Attorneys (If Known)

VW

IL. BASIS OF JURISDICTION

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U.S. Govarnment
Plaintiff

M2 U.S. Govanment

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(Place an “X” in One Box Only)
(For Diversity Cases On ly)

Federal Question
(U.S. Govern ment Not a Party)

Citizen of This State

XxX} |

Citizen of Another State 0 2

III. CITIZENSHIP OF PRINCIPAL PARTIE Seine an “x” in One Box for Plaintiff

and One Box for De fendant)

DEF DEF

O11 Incorporated or Principal Place OO 4 014
of Business lh This State

O12 Incorporated and Principal Place 1 5 by 5

Defendant (Indicate Citizenship of Parties of Business In Another State
in Item TH)
Citizen or Subject ofa 0 3 53 Forcign Nation O6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY O 610 Agriculture C1 422 Appeal 28 USC 158 C1 400 State Reap portionment
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Proceeding State Court Appellate Court Reopened Litigation Judgment

VI. CAUSE OF ACTION

There is diversity between the parties and the amount in controversy exceeds the sum of $75,000.
The court has jurisdiction pursuant to 28 U.S.C. §1332.

(Cite the U.S. Civil Stitute underwhich you are filing and write bief starment of cause,
Do not cite jurisdictional statutes unless diversity.)

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COMPLAINT: UNDER F.R.CP, 23 $750,000. JURY DEMAND: Oves No
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APPLYING IFP JUDGE

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Case 1:03-cv-10366-MEL Document1 Filed 02/2g/03 Page 25 of 27

Attorney for Defendant Xeikon America, Inc.:

Martin E. Levin

Stern, Shapiro, Weissberg & Garin, LLP
90 Canal Street

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(617) 742-5800

Kimberly E. Ramundo
Thompson Hine, LLP
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Cincinnati, OH 04202
(513) 352-6656

Attorney for Defendants Walter Burgler and Albert Vollenweider:

Ruth T. Dowling
Palmer & Dodge, LLP
111 Huntington Avenue
Boston, MA 02199
(617) 239-0657
Case BOSON goo MES Document 1. Filed “eS Page 26 of 27

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS ba

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1. TITLE OF CASE (NAME OF FIRST PARTY ON EACH SIDE ONLY). Tullio E. Ponzi -ve Xei

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2. CATEGORY IN WHICH THE CASE BELONGS BASED UPON THE NUMBERED NATURE OF,SUIT CODE LISTEDON JHE CIVIL
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COVER SHEET. (SEE LOCAL RULE 40.1(A)(1)). wpe} .

I. 160, 410, 470, R.23, REGARDLESS OF NATURE OF SUIT.

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740, 790, 791, 820*, 830%, 840*, 850, 890, 892-894, 895, 950. for patent, trademark or copyright cases

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WW. 410, 120, 130, 140, 151, 190, 210, 230, 240, 245, 290, 310,
315, 320, 330, 340, 345, 350, 355, 360, 362, 365, 370, 371,
380, 385, 450, 891.

IV. 220, 422, 423, 430, 460, 510, 530, 610, 620, 630, 640, 650, 660,
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3. TITLE AND NUMBER, IF ANY, OF RELATED CASES. (SEE LOCAL RULE 40.1G)). IF MORE THAN ONE PRIOR RELATED CASE
HAS BEEN FILED IN THIS DISTRICT PLEASE INDICATE THE TITLE AND NUMBER OF THE FIRST FILED CASE IN THIS COURT.

4. HAS APRIOR ACTION BETWEEN THE SAME PARTIES AND BASED ON THE SAME CLAIM EVER BEEN FILED IN THIS
COURT?

YES NOX

5. DOES THE COMPLAINT IN THIS CASE QUESTION THE CONSTITUTIONALITY OF AN ACT OF CONGRESS AFFECTING THE
PUBLIC INTEREST? (SEE 28 USC §2403)

YES NOX
IF SO, IS THE U.S.A. ORAN OFFICER, AGENT OR EMPLOYEE OF THE U.S. APARTY?

YES NO

6. IS THIS CASE REQUIRED TO BE HEARD AND DETERMINED BYA DISTRICT COURT OF THREE JUDGES PURSUANT TOTITLE
28 USC §2284?

YES NOX

7. DOALL OF THE PARTIES IN THIS ACTION, EXCLUDING GOVERNMENTAL AGENCIES OF THE UNITED STATES AND THE
COMMONWEALTH OF MASSACHUSETTS (“GOVERNMENTAL AGENCIES”), RESIDING IN MASSACHUSETTS RESIDE IN THE
SAME DIVISION? - (SEE LOCAL RULE 40.1(D)).

YES X NO
A. iF YES, IN WHICH DIVISION DO_ALL OF THE NON-GOVERNMENTAL PARTES RESIDE?
EASTERN DIVISION X CENTRAL DIVISION WESTERN DIVISION
B. IF NO, IN WHICH DIVISION DO THE MAJORITY OF THE PLAINTIFFS OR THE ONLY PARTIES, EXCLUDING

GOVERNMENTAL AGENCIES, RESIDING IN MASSACHUSETTS RESIDE?

EASTERN DIVISION CENTRAL DIVISION WESTERN DIVISION

(PLEASE TYPE OR PRINT)

ATTORNEY'S NAME Martin E. Levin, Stern, Shapiro, Weisshere & Garin, LLP 2° “s-2"
ApprEss 90 Canal Street, 5th Floor, Roston, MA 02114-2022

TELEPHONE NO. 617-742-5800

(Cover sheet local.wpd - 11/27/00)

Case 1:03-cv-10366-MEL Document1 Filed ee Page 27 of 27

oo STERN - ~ Max D. Stern
Jonathan Shapiro
SHAPIRO Dyan G., Weisstieng
WEISSBERG Patricia Garin. mony

Martin bk. Levin a

& GARIN LLP Kenneth ‘M. Rgsney 5 2.

attorneys at law M, Amy Carlin 13

February 25, 2003

BY HAND

Clerk
United States District Court
For the District of Massachusetts
John Joseph Moakley U.S. Courthouse
1 Courthouse Way hi

Boston, MA 02210 13 co [ 0 3 6 6 wap
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Re: Tullio E. Ponzi v. Xeikon, N.V., Xeikon
America, Inc., AM Digital, AG, Walter
Burgler, and Albert Vollenweider

Dear Sir/Madam:

Enclosed please find for filing the Notice of Removal, Civil
Cover Sheet, and Filing Category Form together with a check for
the filing fee in the amount of $150.00. Please return to this
office a date stamped and certified copy, showing the assigned
case number, via our messenger.

Thank you for your attention to this matter.

ML/jah
encl.

cc: John M. McAuliffe, Esq.
Andrew T. Howard, Esq.
Kimberly E. Ramundo, Esq.
Ruth T. Dowling, Esq.

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